Pro Se 15 (Rev, 12/16) Complaint for Violation of Civil Rights (Non—Prisoner)

 

  
    

UNITED STATES DISTRICT COURT

J
for the uae 2019

Clerk U.S. District
Greensboro, neout

  

  

Middle District of North Carolina
Division

Case No. (Aav7TUY.

(to be filled in by the Clerk’s Office)
Derrick Allen

 

Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
page with the full list of names.)

-y-

Jury Trial: (check one) [Xx] Yes [] No

Jennifer Elwell, Mark Nelson, Grant Gilliam,Cerelyn
Davis, Durham Police Department, City Of Durham,
Freda Black, Tracey Cline &

Durham County district Attorney Office, NC State
Bereua of Investigations

 

Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list ofnames. Do not include addresses here.)

meee ee ee ee ee ee ee”

COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
(Non—Prisoner Complaint)

 

 

NOTICE

Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
electronic court files. Under this rule, papers filed with the court should not contain: an individual’s full social
security number or full birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may include only: the last four digits of a social security number; the year of an individual’s
birth; a minor’s initials; and the last four digits of a financial account number.

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
other materials to the Clerk’s Office with this complaint.

In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
forma pauperis.

 

 

Page 1 of 7

Case 1:19-cv-00766-TDS-LPA Document 2 Filed 07/29/19 Page 1 of 49
Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non—Prisoner)

 

I. The Parties to This Complaint

A, The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.

Name
Address

County
Telephone Number
E-Mail Address

B. The Defendant(s)

 

 

 

Derrick Allen

PO BOX 25419

Durham NC 27702
City State Zip Code

Durham

 

919-519-9198

 

78derrickallen@gmail.com

 

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person’s job or title (if known) and check whether you are bringing this complaint against
them in their individual capacity or official capacity, or both. Attach additional pages if needed.

Defendant No. |

Name
Job or Title (if known)
Address

County
Telephone Number
E-Mail Address (if known)

Defendant No. 2

| Name

Job or Title (if known)
Address

County
| Telephone Number

Case 1:19-cv-00766-TDS-LPA

Jennifer Elwell

 

SbI laboratory Technician

 

3320 Garner Road

 

Raleigh NC 27610

 

City State
Wake County

Zip Code

 

919-662-4500

 

No available email listed

 

(X] Individual capacity [X] Official capacity

Mark Nelson

 

SBI Lab technician

 

3320 Garner Road

 

Raleigh NC 27601

 

City State
Wake County

Zip Code

 

919-662-4500

 

Page 2 of 7

Document 2. Filed 07/29/19 Page 2 of 49
Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non—Prisoner)

 

Il.

E-Mail Address (if known)

Defendant No. 3
Name
Job or Title (if known)
Address

County
Telephone Number
E-Mail Address (if known)

Defendant No. 4
Name
Job or Title Gf known)
Address

County
Telephone Number
E-Mail Address (if known)

Basis for Jurisdiction

No available emails listed

 

Individual capacity Official capacity

Cerelyn Davis

 

 

 

 

Police Chief

602 East Main Street

Durham NC 27701
City State Zip Code

Durham

 

919-560-4322

 

no email provided online

 

[X] Individual capacity  [X] Official capacity

 

 

 

 

Grant Gilliam

Ex- Investigator for duham PD

602 East Main Street

Durham NC 27701
City State Zip Code

Durham

 

No phone number listed.

 

No email listed for his individual

 

[IX] Individual capacity [Xx] Official capacity

Under 42 U.S.C. § 1983, you may sue state or local officials for the "deprivation of any rights, privileges, or
immunities secured by the Constitution and [federal laws]." Under Bivens v. Six Unknown Named Agents of
Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain

constitutional rights.

A. Are you bringing suit against (check all that apply):

[_] Federal officials (a Bivens claim)

><] State or local officials (a § 1983 claim)

B. Section 1983 allows claims alleging the "deprivation of any rights, privileges, or immunities secured by
the Constitution and [federal laws]." 42 U.S.C. § 1983. If you are suing under section 1983, what
federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?

Page 3 of 7

Case 1:19-cv-00766-TDS-LPA Document 2 Filed 07/29/19 Page 3 of 49
Attachment to civil complaint

(1) City of Durham

101 City Hall Plaza
Durham, N.C.
27701
(2) Freda Black & Tracey Cline
Durham Co. District Attorney Office
510 South Dillard Street
Durham, N.C.
27701
(3) Durham Police Department
602 East Main Street
Durham, N.C.
27701
(4) Durham County District Attorney Office
602 East Main Street
Durham, North Carolina
27701
(5) North Carolina State Bureau of Investigation
3320 Garner Road
Raleigh, North Carolina
27601

Case 1:19-cv-00766-TDS-LPA Document 2. Filed 07/29/19 Page 4 of 49
Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non—Prisoner)

III.

SBI labatory Techicians wrote reports in a misleading manner to benefit Durham County Prosecutors,
and did not explicitly or clearly communicate results to defense.

Durham Police department lodged Charge(s) Such as Statutory Sexual Offense, First degree Murder
and Felony Child abuse when the evidence was not sufficient to lodge those charges which conduced
to being categorize as a child murder and rapist.

Freda Black and Tracey Cline were the Distrcit Attorney and/or Assistant district attorney who
prosecuted the case and seeked capital punishment (The Death Penalty) against I when the evidence
was not sufficient to warrant a death sentence. Durham County District Attorney office employed both
Freda Black and Tracey Cline.

 

 

C. Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you
are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
officials?

D. Section 1983 allows defendants to be found liable only when they have acted "under color of any

statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia."
42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
of state or local law. If you are suing under Bivens, explain how each defendant acted under color of

federal law. Attach additional pages if needed.

The People described above Did not perform their duties which too infringed particular consitutional
rights bestowed upon individuals born in the United States of America; I was subjected to cruel and
unusual punishment which violates my 8" amendment; Moreover, my 5", 6 & 14"" ( section one)
amendment of the united states constitution has been violated; 42 USC 1983.

Statement of Claim

State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Attach additional pages if needed.

A. Where did the events giving rise to your claim(s) occur?

within the city limits of durham--Durham County.

 

B. What date and approximate time did the events giving rise to your claim(s) occur?

Page 4 of 7
Case 1:19-cv-00766-TDS-LPA Document 2 Filed 07/29/19 Page 5 of 49
Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non—Prisoner)

IV.

I was charged with First Degree Murder, First Degree Statutory Sexual Offense & Felony Child Abuse

02/09/1998; Everything else took place from the date I was imprisoned until the day i was cocered into
accepting an alford plea.

 

 

C, What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
Was anyone else involved? Who else saw what happened?)
I was wrongfully imprisoned for crimes i did not commit, Charges were lodged against me and the
government did not have the evidence or suspicion to chrge and prosecute but instead attempted to
cover up the blunder at my expense.I was wrongfully incarcerated for crimes i did not commit.
Injuries

If you sustained injuries related to the events alleged above, describe your injuries and state what medical
treatment, if any, you required and did or did not receive.

From the outset, I was wrongfully charged with Offenses i did not committ, and too imprisoned for a duration of

12 years and 7 months; Moreover, due to the stigma that has been attached to my name I have been subject to
hardship which is rife with misperception, deceit and neglect..

 

Relief

State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.

If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
the acts alleged. Explain the basis for these claims.

Page 5 of 7

Case 1:19-cv-00766-TDS-LPA Document 2 Filed 07/29/19 Page 6 of 49
Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non—Prisoner)

 

I am requesting to be compensated for the mental anguish and punitive damages in the amount of
$3,000,000.00,

 

VI. =‘ Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney
I agree to provide the Clerk’s Office with any changes to my address where case-related papers may be

served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing: Ot [ BO / LIF

Signature of Plaintiff TT Yuna AUC \ Ne

Printed Name of Plaintiff Derrick Allen Sr.

 

 

 

B. For Attorneys

Date of signing:

 

Signature of Attorney

 

Printed Name of Attorney
Bar Number

 

 

Page 6 of 7
Case 1:19-cv-00766-TDS-LPA Document 2 Filed 07/29/19 Page 7 of 49
Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non—Prisoner)

Name of Law Firm
Address

 

 

 

City State Zip Code
Telephone Number
E-mail Address

 

 

Page 7 of 7
Case 1:19-cv-00766-TDS-LPA Document 2. Filed 07/29/19. Page 8 of 49
 

“DURHAM COUNTY

FILED

STATE OF NORTH CAROLINA ¥ AR- +n 2014N THE|GENERAL COURT OF JU STICE
SUPER YIOE. BC DIVISION

COUNTY OF DURHAM ‘ Le S2ye.gex AT 14c¥

DERRICK ALLEN,
Plaintiff,

 

 

 

COMPLAINT
(Jury Trial Demanded)

Vv.

)
JENNIFER ELWELL, in her individual and )
official capacities, MARK NELSON, in his )
individual capacity, GRANT GILLIAM, )
in his individual and official capacities, )
DURHAM POLICE DEPARTMENT, )
CITY OF DURHAM, )
and FREDA BLACK, in her individual capacity. _)
Defendants.

COMES NOW, the Plaintiff, pursuant to the laws of the State of North Carolina the Constitution
of the State of North Carolina and the Constitution of the United States and complaining of the
Defendants and alleges and says:

INTRODUCTION

Adesha Artis, died on February 9, 1998 in Durham, North Carolina. Doctors who examined

the child reported that she had been assaulted and, later, that she had died as the result of being
shaken violently. She had been left in the care of her mother’s boyfriend, Derrick Allen. Allen
was nineteen years old at the time and a high school dropout with a ninth grade education.

He called 911 to report that something was wrong with the child. Derrick Allen was arrested
that same day for First Degree Statutory Sex Offense against Adesha Artis. Allen denied any
wrongdoing and voluntarily provided DNA samples, clippings of his nails and hairs from his
head, chin and pubic area. Thereafter, he was indicted for First Degree Murder, First Degree
Sexual Offense and Felony Child Abuse. He was appointed counsel and made several motions
for discovery.

The death of Adesha Artis was investigated by the Durham Police Department and the case was
prosecuted by Senior Assistant District Attorney Freda Black (“Black”). Evidence gathered by
the Durham Police Department was submitted to the State Bureau of Investigation (“SBI”) for
testing. The SBI also conducted a polygraph test of one of the State’s witnesses, Kia Ward, upon
the joint request of the Grant Gilliam and Freda Black acting on behalf of the Durham Police
Department and the Durham District Attorney’s Office, respectively.

Jennifer Elwell was employed as a serologist with the State Bureau of Investigation and
conducted tests on the clothing and panties of Adesha Artis. An initial test conducted on the
victim’s clothing and panties was positive for the presence of blood. However, a subsequent
test was negative for the presence of blood and also indicated that the substance was diluted.
Elwell’s report did not contain the results of the subsequent confirmatory test on the child’s
clothing and underwear, and despite being advised of the results of the subsequent tests, neither

Case 1:19-cv-00766-TDS-LPA Document 2 Filed 07/29/19 Page 9 of 49
the Freda Black nor Grant Gilliam provided this exculpatory information to Derrick Allen or his
counsel.

Derrick Allen always maintained his innocence in connection with crimes against Adesha Artis.
However, upon the advice of counsel, he pled guilty to crimes against Adesha Artis by way of
an Alford plea, which acknowledged that a jury could convict him, but allowed Allen to avoid
officially admitting guilt. At that plea hearing, Freda Black stated to the Court that there was

a factual basis for the entry of Allen’s plea based in large part upon the results of tests on the
victim’s clothing and panties showing the presence of blood. Black made these representations
to the Court even though she knew that these statements were inaccurate and misleading. On
August 26, 1999, Derrick Allen’s Alford plea was accepted and he was sentenced to more than
fifty (50) years imprisonment. His projected release date was 2049.

On October 29, 1999, Derrick Allen wrote to various persons asking how to challenge his
conviction and request copies of his court files. Prisoner Legal Services requested the court files
from the Clerk of Court on behalf of Mr. Allen. He filed a pro se appeal with the North Carolina
Court of Appeals challenging the legality of his conviction. Thereafter, the North Carolina Court
of Appeals remanded the case to the Superior Court of Durham County with instructions to
appoint counsel to assist Mr. Allen.

After the appointment and subsequent removal of two attorneys, Attorney Lisa Anderson
Williams was appointed to represent Mr. Allen. Thereafter, she aggressively pursued discovery
on Mr. Allen’s behalf, including gaining access to evidence and information contained in

the files of Durham District Attorney’s Office and the Durham Police Department. Attorney
Williams specifically requested access to property in evidence and the forensic files at the
Durham Police Department. Her investigation revealed documents and information missing
from the discovery provided to Derrick Allen and subsequently resulted in the release of
exculpatory information previously unknown to Derrick Allen.

In August 2010 an audit of the serology unit of the North Carolina State Bureau of Investigation
was released and Derrick Allen’s case was flagged for reports that were inconsistent with the
results of actual tests conducted. On September 10, 2010, Derrick Allen was released from
custody after twelve and one-half years. He was thirty-one (31) years old and had spent almost
half of his life incarcerated for crimes he did not commit.

On October 12, 2010, Attorney Lisa Williams filed a Motion To Dismiss with Prejudice
seeking to have all charges against Derrick Allen dismissed for failure of the State to comply
with discovery statutes and for violation of Derrick Allen’s constitutional rights resulting

in irreparable harm to Mr. Allen. On or about December 11, 2010, the Honorable Orlando

F, Hudson, Jr. dismissed with prejudice all charges against Derrick Allen finding there had
been flagrant violations of Mr. Allen’s constitutional rights. In particular, the Court found
disturbing errors by Jennifer Elwell of the serology unit of the State Bureau of Investigation and
representations made to the Court by Senior Assistant District Attorney Freda Black regarding
the blood evidence. The Court also determined that the Durham District Attorney’s Office and
Durham Police Department failed to turn over exculpatory evidence to Mr. Allen, including
police reports that indicated that the only witness against Allen had sex with him and that this
witness subsequently viewed Allen as an enemy; as well as the full results of an SBI polygraph

Case 1:19-cv-00766-TDS-LPA Document 2 Filed 07/29/19 Page 10 of 49
test of that witness, and whether she was asked how truthful she had been.

As a direct result of the acts and omissions of the Defendants, both individually and collectively,
Derrick Allen was induced to accept an Alford plea of guilty to crimes that he did not commit
and was incarcerated each year from 1999 until 2010 and sustained personal injuries which
resulted in substantial damages each year from 1999 to 2010. These include, but are not limited
to inadequate medical treatment, pain and suffering, severe mental anguish, emotional distress,
humiliation, indignities, embarrassment, degradation, restrictions on all forms of personal
freedom, including but not limited to diet, sleep, personal contact, educational opportunity,
vocational opportunity, athletic opportunity, personal fulfillment, family relations, television,
travel, enjoyment and expression.

Beyond compensating Derrick Allen for the twelve and one half years he spent in custody,
this action seeks to redress the unlawful official policies, practices and/or customs that caused
Defendants’ violations of Mr. Allen’s constitutional rights as guaranteed by the United States
Constitution and the Constitution and laws of the State of North Carolina.

PARTIES

Plaintiff, Derrick Allen, is a natural person, who at all times relevant to this action, resided in
North Carolina, and after his arrest and imprisonment, was confined at Central Prison in Raleigh,
North Carolina.

Defendant Jennifer Elwell is an individual who resided in North Carolina at all times relevant

to this action. Further, at all times relevant to this action, Defendant Elwell was employed as a
serologist with the State Bureau of Investigation. Defendant Elwell had primary responsibility
and authority for conducting the tests of certain items of evidence in the investigation of the
death of Adesha Artis, to wit: the Artis’ clothing and panties; and for writing reports detailing the
results of tests she performed on the aforementioned evidence. Defendant Elwell is named in her
individual capacity for actions taken under color of law within the scope of her employment.

Defendant Mark Nelson is an individual who resided in North Carolina at all times relevant to
this action. Further, at all times between 1986 and 2002, Defendant Nelson was the Chief of the
Serology Section of the SBI Crime Lab and supervised the work of Elwell.

Defendant City of Durham is a municipal entity organized under the laws of the State of North
Carolina.

Defendant Durham Police Department is a governmental agency organized and existing as an
arm of the City of Durham organized under the laws of the State of North Carolina.

Defendant Grant Gilliam, is an individual who resided in North Carolina at all times relevant
to this action. Further, at all times relevant to this action, Defendant Gilliam was employed by
the City of Durham with the Durham Police Department as a homicide investigator. Defendant
Gilliam had supervisory responsibility and authority over the investigation into the death of
Adesha Artis that resulted in the wrongful arrest and incarceration of Derrick Allen. Defendant

Case 1:19-cv-00766-TDS-LPA Document 2 Filed 07/29/19 Page 11 of 49
Gilliam is named in his individual capacity for actions taken under color of law within the scope
of his employment.

Defendant Freda Black is an individual who resided in North Carolina at all times relevant to
this action. Further, at all times relevant to this action, Defendant Black was employed as a
Senior Assistant District Attorney by the State of North Carolina. Defendant Black had primary
responsibility and authority for the prosecution of crimes against Adesha Artis that resulted

in the wrongful arrest and incarceration of Derrick Allen. Defendant Black is named in her
individual capacity for actions taken under color of law within the scope of her employment
and for actions taken as an attorney licensed to practice law in the State of North Carolina and
subject to the Rules of Professional Conduct promulgated by the North Carolina State Bar.

JURISDICTION AND VENUE
Plaintiff, Derrick Allen, brings this civil action under 42 U.S.C. 1983 for acts committed by
defendants under color of state law which deprived Allen of his liberty without due process of

law, in violation of the Fourteenth Amendment to the United States Constitution.

Allen’s action arises under the Constitution and laws of the United States and the constitution
and laws of the State of North Carolina.

This Court has original jurisdiction over Allen’s federal claims pursuant to 28 U.S.C. 1331 and
28 U.S.C, 1343(a)(3).

The Court has pendent jurisdiction over Allen’s state law claims pursuant to 28 U.S.C. 1367.

All events giving rise to this cause of action occurred in Durham County, North Carolina.

DEMAND FOR JURY TRIAL

Plaintiff, Derrick Allen, hereby demands a trial by jury on all issues so triable.

Case 1:19-cv-00766-TDS-LPA Document 2 Filed 07/29/19 Page 12 of 49
FACTS

Adesha Artis, died on February 9, 1998 in Durham, North Carolina. She was the daughter of
Derrick Allen’s then-girlfriend and the toddler had been left in his care.

Derrick Allen was nineteen years old when Adesha Artis died and he had a ninth grade
education.

Derrick Allen called 911 and reported that there was something wrong with the toddler. He was
arrested that same day for First Degree Statutory Sex Offense against Adesha Artis. Mr. Allen
denied any wrongdoing and voluntarily provided DNA samples, clippings of his nails and hairs
from his head, chin and pubic area.

Derrick Allen always maintained his innocence and during the early years of his incarceration
frequently wrote to his former girlfriend to assure her that he had not hurt or killed her little girl.

The death of Adesha Artis was investigated by Investigator Grant Gilliam (“Gilliam”) of the
Durham Police Department and other members of the Durham Police Department and the State’s
case against Derrick Allen was handled by Senior Assistant District Attorney Freda Black
(“Black”) who also assisted Gilliam in the investigation.

Jennifer Elwell was employed as a serologist with the State Bureau of Investigation and
conducted tests on the clothing and panties of Adesha Artis.

On or about February 16, 1998, Derrick Allen was indicted for First Degree Statutory Sex
Offense and on March 2, 1998 he was indicted for First Degree Murder and Felony Child Abuse.

On April 2, 1998 the State of North Carolina filed notice of intention and application for a Rule
24 conference, indicating that the State intended to seek the death penalty against Derrick Allen.

On April 24, 1998, Derrick Allen filed numerous pretrial motions and served them on the State,
including a Motion To Preserve Files and Motions for Discovery in all cases.

On or about July 6, 1998, the State’s motion to seek the death penalty against Derrick Allen was
granted.

On or about February 22, 1999, Derrick Allen filed and served upon the State various motions,
including a Motion For Crime Scene Report, Motion To Produce Witness Reports of Expert,
Motion to Produce Medical Records for Adesha Artis, Motion To Produce Witness Statements
(that the State does not intend to use at trial and other exculpatory information), Motion To
Produce Data, Test Procedures and Diagrams, and Motion To Produce Interview Statements.

On or about March 4, 1999, the State was ordered to disclose any and all exculpatory
information to Derrick Allen.

Case 1:19-cv-00766-TDS-LPA Document 2 Filed 07/29/19 Page 13 of 49
On or about August 26, 1999, Derrick Allen entered an Alford plea of guilty to crimes involving
Adesha Artis. He received a sentence in excess of fifty (50) years, but he was spared the

death penalty. Derrick Allen was nineteen (19) years old when he entered the Department of
Corrections and his projected release date was 2049.

Beginning that same year on October 29, 1999, Derrick Allen, who had a ninth grade education
at the time, wrote to various persons asking how to challenge his conviction and request copies
of his court files. Prisoner Legal Services requested the court files from the Clerk of Court on
behalf of Mr, Allen.

On or about January 27, 2004, Derrick Allen filed a pro se appeal with the North Carolina Court
of Appeals challenging the legality of his conviction.

On or about February 10, 2004, the North Carolina Court of Appeals remanded the case to the
Superior Court of Durham County and instructs that counsel be appointed to assist Mr. Allen.

On or about May 25, 2004, Derrick Allen wrote to the Clerk of Superior Court in Durham to
inquire why he had not been returned to Durham County per the order of the North Carolina
Court of Appeals. Also, in May 2004, Derrick Allen filed a pro se Motion To Preserve and
Locate Evidence in his cases.

On or about September 21, 2004, Derrick Allen was appointed counsel as instructed by the North
Carolina Court of Appeals.

On March 18, 2009, the Honorable Orlando F. Hudson, Jr. vacated the judgments entered on
August 26, 1999 and Derrick Allen withdrew his Alford guilty plea. However, he remained
incarcerated because he was unable to make bond.

On or about July 8, 2009, Mark Edwards was removed by the court as counsel for Derrick Allen
and new counsel was appointed.

On or about February 16, 2010, Michael Drive was removed by the Court as counsel for Derrick
Allen and new counsel was appointed.

On February 18, 2010, Lisa Anderson Williams was appointed as counsel for Derrick Allen. He
had already been arraigned and his trial was scheduled to begin on May 10, 2010.

On the 13" and 15" of April, 2010, respectively, Attorney Lisa Williams requested access to
inspect and copy the State’s filed, the police officer’s filed, and to inspect property in evidence
and the forensic files at the Durham Police Department.

On April 15, 2010, Attorney Lisa Williams notified Assistant District Attorney Mitchell Garrell
that there were documents and information missing as indicated by reference to these documents
in material produced by the State. On April 25, 2010, Attorney Lisa Williams sent a memo to
Garrell identifying the missing documents and information.

Case 1:19-cv-00766-TDS-LPA Document 2 Filed 07/29/19 Page 14 of 49
On or about July 10, 2010, the State released to Attorney Lisa Williams exculpatory information
previously unknown to Derrick Allen. Attorney Williams requested additional information and
access to the police officer’s files on July 25, 2010.

On August 18, 2010, an audit of the serology unit of the North Carolina State Bureau of
Investigation was released. Derrick Allen’s case was flagged for reports that were inconsistent
with the results of actual tests conducted.

On September 10, 2010, Derrick Allen was released from custody after twelve and one-half
years. He was thirty-one (31) years old and had spent almost half of his life incarcerated for
crimes he did not commit.

On October 12, 2010, Attorney Lisa Williams filed a Motion To Dismiss with Prejudice
seeking to have all charges against Derrick Allen dismissed for failure of the State to comply
with discovery statutes and for violation of Derrick Allen’s constitutional rights resulting in
irreparable harm to Mr. Allen.

On or about December 11, 2010, the Honorable Orlando F. Hudson, Jr. dismissed with prejudice
all charges against Derrick Allen finding there had been flagrant violations of Mr. Allen’s
constitutional rights.

In particular, the Court found disturbing errors by Jennifer Elwell of the serology unit of the

State Bureau of Investigation and representations made to the Court by Senior Assistant District
Attorney Freda Black regarding the blood evidence.

Case 1:19-cv-00766-TDS-LPA Document 2 Filed 07/29/19 Page 15 of 49
CAUSES OF ACTION

I. FEDERAL LAW

A. CLAIMS UNDER 42 U.S.C. 1983 AGAINST ELWELL FOR VIOLATION OF
THE DUE PROCESS CLAUSE OF THE FOURTEENTH AMENDMENT TO THE
UNITED STATES CONSTITUTION.

10.

1.

COUNT I - Defendant Elwell Intentionally Misrepresented Evidence.

Each and every unnumbered paragraph hereinabove, is hereby re-alleged and
incorporated herein by reference as if fully set forth.

At all times relevant to this action, Defendant Jennifer Elwell was employed by the
State of North Carolina with the State Bureau of Investigation in the serology unit.

In her capacity as a serologist with the State Bureau of Investigation, Defendant
Elwell was responsible for conducting tests on physical evidence to determine the
presence of blood and other substances,

At all times relevant to this action, Defendant Elwell was acting within the course and
scope of her employment with the State of North Carolina.

During the course of her employment, Defendant Elwell had received training on the
standards and requirements for conducting tests on physical evidence to determine
the presence or blood and other substances; and on the standards and requirements for
reporting the results of said tests.

Defendant Elwell conducted tests on the clothing and panties of Adesha Artis.

Defendant Elwell reported that testing on the child's underwear had shown chemical
indications of blood. However, her report failed to say that subsequent confirmatory
tests were negative for blood and the stains were dilute.

Defendant Elwell, intentionally misrepresented the evidence against Derrick Allen by
creating a false and misleading report that indicated that there was blood on the child
victim’s clothing and panties.

In intentionally misrepresenting this evidence and creating the false and misleading
report, Defendant Elwell acted with reckless indifference to Allen’s constitutional
rights.

Defendant Elwell could reasonably foresee that her misrepresentation of evidence and
false and misleading report would result in Allen’s conviction and imprisonment.

Defendant Elwell’s intentional misrepresentation of the evidence against Derrick
Allen was a direct and proximate cause of his conviction and subsequent
imprisonment.

Case 1:19-cv-00766-TDS-LPA Document 2 Filed 07/29/19 Page 16 of 49
12. Defendant Elwell was acting under color of law when she intentionally
misrepresented the evidence against Allen and created the false and misleading
serology report.

13. Defendant Elwell’s intentional misrepresentation of evidence and creation of a false
and misleading report deprived Allen of his liberty without due process of law in
violation of the Fourteenth Amendment to the united States Constitution.

14. Because Defendant Elwell intentionally misrepresented evidence against Allen and
created a false and misleading serology report, Defendant Elwell is liable in her
individual capacity to Allen for compensatory damages under 42 U.S.C. 1983.

15. Defendant Elwell had a continuing duty as an SBI employee to correct the false and
misleading report that she submitted. That obligation began on the day she submitted
her report and continued every day, month and year that Derrick Allen was in jail and
for as long as Defendant Elwell was employed by the State of North Carolina.

16. Had Defendant Elwell ever corrected the laboratory report or disclosed the negative
results of confirmatory tests before Derrick Allen pled guilty in 1998, the charges
against Allen would have been dismissed and he would have avoided almost thirteen
years imprisonment.

17. In each year after Allen’s conviction, from 1998 through and including 2010,
Defendant could have and would have obtairied post-conviction relief and avoided
additional time in prison if Defendant Elwell had corrected the laboratory report and
disclosed the negative results of confirmatory tests.

18. Defendant Elwell’s intentional failure to correct the false and misleading serology
report in each year from 1998 and 2010 deprived Allen of his liberty without due
process of law in violation of the Fourteenth Amendment to the United States
Constitution.

19. Because Defendant Elwell’s intentionally failed to correct the false and misleading
serology report in each year from 1998 through 2010, in reckless indifference to
Allen’s constitutional rights, Defendant Elwell is liable in her individual capacity to
Allen for compensatory damages under 42 U.S.C. 1983.

COUNT II - Defendant Elwell Failed To Disclose Exculpatory Evidence

20. Each and every paragraph hereinabove, both numbered and unnumbered, is hereby
re-alleged and incorporated herein by reference as if fully set forth.

21. The serology report created and submitted by Defendant Elwell intentionally omitted
the results of confirmatory tests on the clothing and panties of Adesha Artis.

Case 1:19-cv-00766-TDS-LPA Document 2 Filed 07/29/19 Page 17 of 49
22. The results of these confirmatory tests showed were negative for the presence of
blood and showed that the stains were dilute.

23. Defendant Elwell’s serology report regarding the blood evidence on the clothing and
panties of Adesha Artis was incomplete at best, and at worst, was designed to create a
false impression of guilt.

24. Defendant Elwell intentionally withheld exculpatory evidence by failing to disclose
in her report that the confirmatory tests on the victim’s clothing and panties were
negative for the presence of blood.

25. In withholding exculpatory evidence from Allen, Defendant Elwell acted with
reckless indifference to Allen’s constitutional rights.

26. Defendant Elwell could reasonably foresee that her failure to disclose exculpatory
evidence would result in Allen’s conviction and imprisonment.

27. Defendant Elwell’s intentional withholding of exculpatory evidence from
Derrick Allen was a direct and proximate cause of his conviction and subsequent

imprisonment.

28. Defendant Elwell was acting under color of law when she withheld the exculpatory
evidence from Allen.

29. Defendant Elwell’s intentional withholding of exculpatory evidence deprived Allen
of his liberty without due process of law in violation of the Fourteenth Amendment to

the united States Constitution.

30. Because Defendant Elwell intentionally withheld exculpatory evidence from Allen,
Defendant Elwell is liable in her individual capacity to Allen for compensatory
damages under 42 U.S.C, 1983.

31. Defendant Elwell had a continuing duty as an SBI employee to disclose the existinece
of exculpatory evidence to Allen or his legal counsel. That obligation began on the
day she withheld the exculpatory test results and continued every day, month and year
that Derrick Allen was in jail and for as long as Defendant Elwell was employed by
the State of North Carolina.

32. Had Defendant Elwell ever disclosed the exculpatory test results before Derrick Allen
pled guilty in 1998, the charges against Allen would have been dismissed and he
would have avoided almost thirteen years imprisonment.

33. In each year after Allen’s conviction, from 1998 through and including 2010,
Defendant could have and would have obtained post-conviction relief and avoided
additional time in prison if Defendant Elwell had disclosed the existence of the

exculpatory test results.

Case 1:19-cv-00766-TDS-LPA Document 2 Filed 07/29/19 Page 18 of 49
34. Defendant Elwell’s intentional failure to disclose the exculpatory test results in each
year from 1998 and 2010 deprived Allen of his liberty without due process of law in
violation of the Fourteenth Amendment to the United States Constitution.

35. Because Defendant Elwell’s intentionally failed to disclose the exculpatory test
-results in each year from 1998 through 2010, in reckless indifference to Allen’s
constitutional rights, Defendant Elwell is liable in her individual capacity to Allen for
compensatory damages under 42 U.S.C. 1983.

B. CLAIMS UNDER 42 U.S.C. 1983 AGAINST NELSON FOR VIOLATION OF THE
DUE PROCESS CLAUSE OF THE FOURTEENTH AMENDMENT TO THE
UNITED STATES CONSTITUTION. :

COUNT I — Defendant Nelson Intentionally Misrepresented Evidence

36. Each and every paragraph hereinabove, both numbered and unnumbered, is hereby
re-alleged and incorporated herein by reference as if fully set forth.

37. At all times relevant to this action, Defendant Mark Nelson was employed by the
State of North Carolina with the State Bureau of Investigation as the Chief of the
Serology Section of the SBI Crime Lab.

38. The role of a forensic laboratory is to be an objective reporter of facts to all
stakeholders in the criminal justice system.

39. In his capacity as Chief of the Serology Section of the SBI Crime Lab, Defendant
Nelson was responsible for the policies, practices and regulations promulgated by the
Serology Section. ’

40. In his capacity as Chief of the Serology Section of the SBI Crime Lab, Defendant
Nelson was also responsible for supervising and overseeing the conduct of SBI
analysts within the Serology Section, reviewing the results of reports created by
analysts within the Serology Section and supervising and overseeing the tests
performed within the Serology Section of the SBI Crime Lab.

41. In August 2010, an independent audit of the SBI Crime Lab determined that
Defendant Mark Nelson as Section Chief, undermined the objective role of the
forensic laboratory by promoting a “mindset . . . that the lab’s customer was law
enforcement and reported results should be tailored primarily for law enforcement’s
consumption.”

42. As Chief of the Serology Section and a Defendant Elwell’s supervisor, Defendant
Nelson knew before and after Elwell submitted her false and misleading report
regarding the substance on Adesha Artis’ clothing and panties in 1998, that Elwell
had a practice of producing and submitting official SBI laboratory reports that falsely
indicated the presence of blood, while concealing the negative results of confirmatory
tests.

Case 1:19-cv-00766-TDS-LPA Document 2 Filed 07/29/19 Page 19 of 49
43. Defendant Nelson encouraged, condoned and approved of the practice of Elwell
in creating and submitting official SBI laboratory results that falsely indicated the
presence of blood while concealing the negative results of confirmatory tests.

44. Defendant Nelson knew and intended that this practice and custom described
hereinabove created a systematic bias in favor of law enforcement and against
defendants in criminal cases.

45. Defendant Nelson knew and intended that this practice and custom described
hereinabove routinely resulted in false information being provided to defense counsel.

46. Defendant Nelson knew and intended that this practice and custom described
hereinabove routinely resulted in the failure to disclose material and exculpatory
evidence to defense counsel.

47. Defendant Nelson knew or should have known that this practice and custom
described hereinabove violated the federal constitutional rights of criminal

defendants.

48. Defendant Nelson acted with reckless indifference to Allen’s constitutional rights
by encouraging, condoning and approving Elwell’s practice of intentionally
misrepresenting evidence by creating and submitting serology reports that falsely
indicated the presence of blood while failing to disclose negative confirmatory test
results.

49. Defendant Nelson could reasonably foresee that his encouragement, condonation and
approval of Elwell’s practice of intentionally misrepresenting evidence was a direct
and proximate cause of Allen’s conviction and subsequent imprisonment.

50. Because Defendant Nelson intentionally encouraged, condoned and approved
Defendant Elwell’ s practice of intentionally misrepresenting evidence, Allen was
wrongfully imprisoned for almost thirteen years for a crime he.did not commit.

51. Defendant Nelson was acting under color of law when he encouraged, condoned and
approved the practice of intentionally misrepresenting evidence.

52. By knowingly and intentionally encouraging, condoning and approving Elwell’s
' intentional misrepresentation of evidence and creation of a false and misleading
report, Defendant Nelson deprived Allen of his liberty without due process of law in
violation of the Fourteenth Amendment to the united States Constitution.

53. Because Defendant Nelson knowingly and intentionally encouraged, condoned and
approved Elwell’s practice of intentionally misrepresenting evidence, Defendant
Nelson is liable in his individual capacity to Allen for compensatory damages under
42 U.S.C. 1983.

Case 1:19-cv-00766-TDS-LPA Document 2 Filed 07/29/19 Page 20 of 49
54. Defendant Nelson had a continuing duty as the Chief of the Serology Section of the
SBI Crime Lab to correct the false and misleading report submitted by analysts under
his supervision. That obligation began on the day Elwell submitted her report and
continued every day, month and year that Derrick Allen was in jail and for as long as
Defendant Nelson was employed by the State of North Carolina.

55. Had Defendant Nelson not encouraged, condoned and approved Defendant Elwell’s
conduct in misrepresenting evidence and creating false laboratory reports, the charges
against Allen would have been dismissed and he would have avoided almost thirteen
years imprisonment.

56. In each year after Allen’s conviction, from 1998 through and including 2010, Derrick
Allen could have and would have obtained post-conviction relief and avoided
additional time in prison if Defendant Nelson had acted to correct what he knew to be
false and misleading laboratory reports created by Defendant Elwell.

57. Defendant Nelson’s intentional failure to correct the false and misleading serology
report created and submitted by Elwell in each year from 1998 and 2010 deprived
Allen of his liberty without due process of law in violation of the Fourteenth
Amendment to the United States Constitution.

58. Because Defendant Nelson intentionally failed to correct the false and misleading
serology report created and submitted by Elwell in each year from 1998 through
2010, in reckless indifference to Allen’s constitutional rights, Defendant Nelson is
liable in his individual capacity to Allen for compensatory damages under 42 U.S.C.
1983.

COUNT II — Defendant Nelson Failed To Disclose Exculpatory Evidence

59, Each and every paragraph hereinabove, both numbered and unnumbered, is hereby
re-alleged and incorporated herein by reference as if fully set forth.

60. As Chief of the Serology Section of the SBI Crime Lab, Defendant Nelson
intentionally and in bad faith encouraged, condoned and approved the practice of
some SBI analysts, in particular Defendant Elwell, of withholding exculpatory
evidence by failing to disclose negative confirmatory test results.

61. Defendant Nelson could reasonably foresee that his encouragement, condonation and
approval of Elwell’s practice of withholding exculpatory evidence was a direct and
proximate cause of Allen’s conviction and subsequent imprisonment.

62. Because Defendant Nelson intentionally encouraged, condoned and approved
Defendant Elwell’ s practice of withholding exculpatory evidence, Allen was
wrongfully imprisoned for almost thirteen years for a crime he did not commit.

63. Defendant Nelson was acting under color of law when he encouraged, condoned and
approved the practice of intentionally withholding exculpatory evidence.

Case 1:19-cv-00766-TDS-LPA Document 2 Filed 07/29/19 Page 21 of 49
64. By knowingly and intentionally encouraging, condoning and approving Elwell’s
intentional failure to disclose exculpatory evidence, Defendant Nelson deprived Allen
of his liberty without due process of law in violation of the Fourteenth Amendment to
the united States Constitution.

65. Because Defendant Nelson knowingly and intentionally encouraged, condoned
and approved Elwell’s practice of intentionally withholding exculpatory evidence,
Defendant Nelson is liable in his individual capacity to Allen for compensatory
damages under 42 U.S.C. 1983.

66. Defendant Nelson had a continuing duty as the Chief of the Serology Section of the
SBI Crime Lab to disclose material and exculpatory evidence. That obligation began
on the day Elwell submitted her report and continued every day, month and year that
Derrick Allen was in jail and for as long as Defendant Nelson was employed by the
State of North Carolina.

67. Had Defendant Nelson not encouraged, condoned and approved Defendant Elwell’s
conduct in intentionally withholding exculpatory evidence, the charges against
Allen would have been dismissed and he would have avoided almost thirteen years

imprisonment.

68. In each year after Allen’s conviction, from 1998 through and including 2010, Derrick
Allen could have and would have obtained post-conviction relief and avoided
additional time in prison if Defendant Nelson had acted to disclosure the exculpatory
evidence intentionally withheld by Elwell.

69. Defendant Nelson’s intentional failure to disclose material and exculpatory evidence
in each year from 1998 and 2010 deprived Allen of his liberty without due process of
law in violation of the Fourteenth Amendment to the United States Constitution.

70. Because Defendant Nelson intentionally failed to disclose exculpatory evidence
in each year from 1998 through 2010, in reckless indifference to Allen’s
constitutional rights, Defendant Nelson is liable in his individual capacity to Allen for
compensatory damages under 42 U.S.C. 1983.

C. CLAIMS UNDER 42 U.S.C. 1983 AGAINST ELWELL AND NELSON FOR
CONSPIRACY TO DEPRIVE ALLEN OF HIS CONSTITUTIONAL RIGHTS
VIOLATION OF THE DUE PROCESS CLAUSE OF THE FOURTEENTH
AMENDMENT TO THE UNITED STATES CONSTITUTION.

71. Each and every paragraph hereinabove, both numbered and unnumbered, is hereby
re-alleged and incorporated herein by reference as if fully set forth.

72. As set forth in detail hereinabove, Defendants Elwell and Nelson acted jointly and in
concert with the intention of depriving Derrick Allen of his constitutional rights.

Case 1:19-cv-00766-TDS-LPA Document 2 Filed 07/29/19 Page 22 of 49
73. Beginning in 1998 and continuing through the remainder of their employment with
the SBI, Defendants Elwell and Nelson, acting under color of state law, conspired to
violate Allen’s rights under the Due Process Clause of the Fourteenth Amendment to
the United States Constitution.

74. The acts in furtherance of the conspiracy include, but are not limited to:

a. Defendant Elwell produced and submitted the false and misleading serology
report.

b. Defendant Elwell falsely affirmed that “This report represents a true and accurate
result of my analysis of the item(s) described.”

c. Defendant Nelson encouraged, condoned and approved Elwell’s practice of
creating and submitting reports that falsely indicated the presence of blood while
concealing the negative results of confirmatory tests.

75, In conspiring to violate Allen’s constitutional rights, Defendants Elwell and Nelson
acted with reckless indifference to Allen’s constitutional rights.

76. When they conspired to violate Allen’s constitutional rights, Defendants Elwell
and Nelson could reasonably foresee that their conspiracy would result in Allen’s
conviction and subsequent imprisonment.

77. The conspiracy between Defendants Elwell and Nelson was a direct and proximate
cause of Allen’s conviction and subsequent imprisonment.

78. As a result of the conspiracy between Defendants Elwell and Nelson, Allen was
wrongfully imprisoned for almost thirteen years for a crime he did not commit.

79. The conspiracy between defendants Elwell and Nelson deprived Allen of his liberty
without due process of law in violation of the Fourteenth Amendment to the United
States Constitution.

80. Because Defendants Elwell and Nelson conspired to deprive Allen of his
constitutional rights, they are each liable in their individual capacities to Allen for
compensatory damages under 42 U.S.C. 1983.

D. CLAIMS UNDER 42 U.S.C. 1983 AGAINST BLACK FOR VIOLATION OF THE
DUE PROCESS CLAUSE OF THE FOURTEENTH AMENDMENT TO THE
UNITED STATES CONSTITUTION.

81. Each and every unnumbered paragraph hereinabove, is hereby re-alleged and
incorporated herein by reference as if fully set forth.

Case 1:19-cv-00766-TDS-LPA Document 2 Filed 07/29/19 Page 23 of 49
82. North Carolina is divided into judicial districts and for each of these districts there
is an elected District Attorney who is a state official and serves as the district’s chief
law enforcement officer who prosecutes crimes in the name of the State of North
Carolina.

83. Senior Assistant District Attorneys are employees of the District Attorney who serve
at the pleasure of the District Attorney and therefore these individuals are employees
of the State of North Carolina.

84, At all times relevant to this action, Senior District Attorney Freda Black was
employed by then District Attorney James Hardin, Jr. and prosecuted cases by, on
behalf of, and in the name of the State of North Carolina.

85. At all times relevant to this action, Senior Assistant District Attorney Freda Black
represented the State of North Carolina in its prosecution of one or more criminal
charges against Derrick Allen.

86. At all times relevant to this action, Defendant Black was acting within the course and
scope of her employment with the State of North Carolina in her capacity as a Senior
Assistant District Attorney.

87. At all times relevant to this action, Defendant Freda Black was an attorney licensed to
practice law in the State of North Carolina.

88. In North Carolina, lawyers are bound by the Rules of Professional Conduct that sets
forth basic ethical standards and requirements for the conduct and practice of law in
this state.

89. Lawyers in North Carolina are also required to complete a certain number of hours
of continuing legal education to ensure that each lawyer remains abreast of new
developments in the law and this includes a specific requirement to receive ethics
training each year.

90. Upon information and belief, at all times relevant to this action, Defendant Black is
and was a member in good standing with the North Carolina State Bar, and therefore,
has completed the required hours for continuing legal education to include ethics
education.

91. While being employed by the State of North Carolina, Defendant Freda Black
represented to the Superior Court, at Derrick Allen’s plea hearing, that a factual basis
existed for entry of the plea, to wit: the presence of blood on the clothing and panties
of Adesha Artis.

92. At the time she made such representation to the Court, Defendant Black knew that
her representation of the results contradicted the serology test results as she had
previously been advised by Defendant Elwell that subsequent tests on the child’s
clothing and panties were negative for blood.

Case 1:19-cv-00766-TDS-LPA Document 2 Filed 07/29/19 Page 24 of 49
93. Defendant Black knew and intended that her statement to the Court regarding the
existence of blood on the clothing and panties of the child victim was false and
misleading.

94, When Defendant Black made the statement to the Court she intended to create and
did in fact create a false impression of Derrick Allen’s guilt.

95. Prior to making such representation to the Court, Defendant Black directed Defendant
Elwell not to include the results of negative confirmatory tests in the official SBI
report, even though Defendant Elwell discussed with her the existence of such
negative confirmatory test results.

96. Defendant Black also reviewed statements made by Kia Ward, a witness in the
investigation into the death of Adesha Artis, to one or more employees of the Durham
Police Department.

97. Defendant Black, acting in an investigative capacity, then caused a polygraph
examination to be conducted upon Kia Ward.

98. Defendant Black met with Defendant Gilliam to determine what specific questions to
pose to Kia Ward during her polygraph examination and submitted these questions by
secret memo to the State Bureau of Investigation.

99, Defendant Black knew that the failure to ask the following two questions and/or the
failure to include these questions in the result of the polygraph that determined Kia
Ward was “not deceptive” was exculpatory information to which Derrick Allen was
entitled. Those questions were: “Did you (Kia Ward) do anything to harm Adesha
Artis’ vagina?” and “Have you been truthful with Investigator Gilliam?” The import
of these two questions cannot be disregarded by anyone objectively seeking the truth
in this matter.

100. Defendant Black knew that the State’s polygraph of Kia Ward was incomplete
and/or misleading.

101. Defendant Black acted in an investigative capacity to misrepresent evidence
regarding the presence or absence of blood on the victim’s clothing and panties.

102. Defendant Black acted in an investigative capacity to misrepresent evidence
concerning the statements of a witness against Derrick Allen.

103. Defendant Black intentionally misrepresented the evidence against Derrick Allen
by directing that negative confirmatory test results be omitted from the official SBI
serology report.

104. Defendant Black intentionally misrepresented evidence against Derrick Allen by

directing the polygraph of a key witness, Kia Ward, by secret memo to the SBI that
did not include questions relevant to the witness’ involvement in harming the victim,

Case 1:19-cv-00766-TDS-LPA Document 2 Filed 07/29/19 Page 25 of 49
bias against Allen or truthfulness to investigators.

105. Defendant Black intentionally misrepresented evidence against Derrick Allen by
falsely reporting the results of the polygraph of Kia Ward.

106. In intentionally misrepresenting the serology report and polygraph test results,
Defendant Black acted with reckless indifference to Allen’s constitutional rights.

107. Defendant Black could reasonably foresee that her intentional misrepresentation
of evidence would induce Derrick Allen in making an Alford plea.

108. Defendant Black could also reasonably foresee that her intentional
misrepresentation of evidence would result in Allen’s conviction and imprisonment.

109. Defendant Black’s intentional misrepresentation of the evidence against
Derrick Allen was a direct and proximate cause of his conviction and subsequent
imprisonment.

110. Defendant Black was acting under color of law when she intentionally
misrepresented the evidence against Allen and created the false and misleading
serology report.

111. Defendant Black’s intentional misrepresentation of evidence deprived Allen of his
liberty without due process of law in violation of the Fourteenth Amendment to the

United States Constitution.

112. Because Defendant Black intentionally misrepresented evidence against Allen,
Defendant Black is liable in her individual capacity to Allen for compensatory
damages under 42 U.S.C. 1983.

COUNT II - Defendant Black Failed To Disclose Exculpatory Evidence

112. Defendant Black knew that she had an affirmative duty to provide all exculpatory
evidence to Derrick Allen, including the results that showed that subsequent tests on
the child victim’s clothing and panties were negative for blood.

113. Atall times relevant to this action, Defendant Black was an experienced
prosecutor who was thoroughly familiar with and knowledgeable about relevant case
law, specifically, the affirmative duty under Brady v. Maryland, and its progeny to
provide exculpatory evidence to defendants in criminal case.

114. Defendant Black knew that a report showing that confirmatory tests on a victim’s
clothing that was negative for the presence of blood was exculpatory evidence as this
was clearly established by case law prior to 1998.

115. Defendant Black knew that the statements of Kia Ward were exculpatory material
subject to discovery pursuant to Brady v. Maryland after she disclosed that she

Case 1:19-cv-00766-TDS-LPA Document 2 Filed 07/29/19 Page 26 of 49
considered Mr. Allen her enemy as this was clearly established by case law prior to
1998.

116. In addition to her duty under the Constitution of the United States, Defendant
Black knew that she had an ethical duty as a member of the North Carolina State
Bar to provide all exculpatory evidence to Derrick Allen, including the results that
showed that subsequent tests on the child’s clothing and panties were negative for
blood, the statements of Kia Ward and the questions and results of the polygraph
examination of Kia Ward,

117. Defendant Black knew that she was intentionally violating the Rules of
Professional Conduct which govern the individual conduct of attorneys, including
prosecutors who might otherwise enjoy immunity from liability in their official
capacities.

118. Defendant Black knew that the results of the polygraph of Kia Ward were
exculpatory evidence that she was required to be disclosed to Derrick Allen.

119. In intentionally withholding this exculpatory evidence from Allen, Defendant
Black acted with reckless indifference to Allen’s constitutional rights.

120. When Defendant Black intentionally withheld exculpatory evidence she could
reasonably foresee that the failure to disclose this evidence would result in Allen’s
conviction and/or induce him to enter an Alford plea of guilty to crimes he did not
commit.

121. Defendant Black was acting under color of state law when she intentionally
withheld the exculpatory evidence.

122. Defendant Black, knew that her intentional withholding of exculpatory evidence
violated Allen’s rights under the Constitution of the United States.

123. Asa direct result of the acts or omissions of Defendant Black Derrick Allen was
induced into making an Alford plea of guilty to crimes he did not commit because
critical exculpatory information was withheld from him prior to his decision to forego
his constitutional right to a trial, to confront and cross-examine the witnesses against
him, and to have a fair compulsory process.

124. Asa direct result of the acts or omissions of Defendant Black, Derrick Allen was
irreparably and immeasurably harmed in that he remained incarcerated for a period of
_ more than twelve and one-half years for a crime he did not commit.

125. Defendant Black’s intentional withholding of exculpatory evidence was a direct
and proximate cause of Allen’s conviction and subsequent imprisonment.

126. Defendant Black’s conduct in intentionally withholding exculpatory information
from Derrick Allen is made more alarming by the fact that the suppression of this

Case 1:19-cv-00766-TDS-LPA Document 2 Filed 07/29/19 Page 27 of 49
evidence occurred simultaneous with the State’s threat to kill Mr. Allen by imposition
of the death penalty if he opted to exercise his rights at trial, which would have
uncovered Defendants’ illegal and unconstitutional behavior.

127. Defendant Black’s intentional withholding of exculpatory evidence deprived
Allen of his liberty without due process of law in violation of the Fourteenth
Amendment to the United States Constitution.

128. Because Defendant Black intentionally withheld exculpatory evidence from
Allen, Defendant Black is liable in her individual capacity to Allen for compensatory
damages under 42 U.S.C. 1983,

E. CLAIMS UNDER 42 U.S.C. 1983 AGAINST ELWELL AND BLACK, IN THEIR
INDIVIDUAL CAPACITIES, FOR CONSPIRACY TO DEPRIVE ALLEN OF
HIS CONSTITUTIONAL RIGHTS VIOLATION OF THE DUE PROCESS
CLAUSE OF THE FOURTEENTH AMENDMENT TO THE UNITED STATES

CONSTITUTION.

129. Each and every paragraph hereinabove, both numbered and unnumbered, is
hereby re-alleged and incorporated herein by reference as if fully set forth.

130. As set forth in detail hereinabove, Defendants Elwell and Black acted jointly and
in concert with the intention of depriving Derrick Allen of his constitutional rights.

131. Beginning in 1998, Defendants Elwell and Black, acting under color of state law,
conspired to violate Allen’s rights under the Due Process Clause of the Fourteenth

Amendment to the United States Constitution.
132. The acts in furtherance of the conspiracy include, but are not limited to:

a. Defendant Elwell conducted the tests on the clothing and panties of the child
victim and advised Defendant Black about the negative confirmatory test

results.

b. Defendant Black directed Defendant Elwell not to include the confirmatory
test results in the official SBI report.

c. Defendant Elwell produced and submitted the false and misleading serology
report.

d. Defendant Elwell falsely affirmed that “This report represents a true and
accurate result of my analysis of the item(s) described.”

e. Defendant Black requested, encouraged, condoned and approved Elwell’s

creation and submission of the report that falsely indicated the presence of
blood while concealing the negative results of confirmatory tests,

Case 1:19-cv-00766-TDS-LPA Document 2 Filed 07/29/19 Page 28 of 49
f. Defendant Black intentionally and knowingly misrepresented evidence to the
Court using the false and misleading serology report.

133. In conspiring to violate Allen’s constitutional rights, Defendants Elwell and Black
acted with reckless indifference to Allen’s constitutional rights.

134. When they conspired to violate Allen’s constitutional rights, Defendants Elwell
and Black could reasonably foresee that their conspiracy would result in Allen’s
conviction and subsequent imprisonment.

135. The conspiracy between Defendants Elwell and Black was a direct and proximate
cause of Allen’s conviction and subsequent imprisonment.

136. Asaresult of the conspiracy between Defendants Elwell and Black, Allen was
wrongfully imprisoned for almost thirteen years for a crime he did not commit.

137. The conspiracy between defendants Elwell and Black deprived Allen of his
liberty without due process of law in violation of the Fourteenth Amendment to the
United States Constitution.

138. Because Defendants Elwell and Black conspired to deprive Allen of his
constitutional rights, they are each liable in their individual capacities to Allen for
compensatory damages under 42 U.S.C. 1983.

F. CLAIMS UNDER 42 U.S.C. 1983 AGAINST GILLIAM, IN HIS INDIVIDUAL
CAPACITY FOR VIOLATION OF THE DUE PROCESS CLAUSE OF THE
FOURTEENTH AMENDMENT TO THE UNITED STATES CONSTITUTION.

COUNT I - Defendant Gilliam Intentionally Misrepresented Evidence

139. Each and every paragraph hereinabove, both numbered and unnumbered, is hereby
re-alleged and incorporated herein by reference as if fully set forth.

140. At all times relevant to this action, Defendant Gilliam was employed by the City of
Durham with the Durham Police Department.

141. Atall times relevant to this action Defendant Gilliam was acting within the course
and scope of his employment as an officer with the Durham Police Department.

142, Defendant Gilliam reviewed statements made by Kia Ward, a witness in the
investigation into the death of Adesha Artis.

143. Defendant Gilliam knew that Kia Ward had engaged in a sexual relationship with
Derrick Allen and considered him her enemy.

Case 1:19-cv-00766-TDS-LPA Document 2 Filed 07/29/19 Page 29 of 49
144, Defendant Gilliam caused a polygraph examination to be conducted upon Kia
Ward.

145. Defendant Gilliam met with Defendant Black to determine what specific questions
to pose to Kia Ward during her polygraph examination and submitted these questions
by secret memo to the State Bureau of Investigation.

146. Defendant Gilliam knew that the failure to ask the following two questions and/
or the failure to include these questions in the result of the polygraph that determined
Kia Ward was “not deceptive” was exculpatory information to which Derrick Allen
was entitled. Those questions were: “Did you (Kia Ward) do anything to harm
Adesha Artis’ vagina?” and “Have you been truthful with Investigator Gilliam?” The
import of these two questions cannot be disregarded by anyone objectively seeking
the truth in this matter.

147. Defendant Gilliam knew and intended that the polygraph of Kia Ward was
incomplete and/or misleading.

148. Defendant Gilliam misrepresented evidence concerning the statements of a key
witness against Derrick Allen.

149. Defendant Gilliam intentionally misrepresented the evidence against Derrick Allen
by directing the polygraph of a key witness, Kia Ward, by secret memo to the SBI
that did not include questions relevant to the witness’ involvement in harming the
victim, bias against Allen or truthfulness to investigators.

150. Defendant Gilliam intentionally misrepresented evidence against Derrick Allen by
falsely reporting the results of the polygraph of Kia Ward.

151. In intentionally misrepresenting the serology report and polygraph test results,
Defendant Gilliam acted with reckless indifference to Allen’s constitutional rights.

152. Defendant Gilliam could reasonably foresee that his intentional misrepresentation
of evidence would induce Derrick Allen in making an Alford plea.

153. Defendant Gilliam could also reasonably foresee that his intentional
misrepresentation of evidence would result in Allen’s conviction and imprisonment.

154. Defendant Gilliam’s intentional misrepresentation of the evidence against
Derrick Allen was a direct and proximate cause of his conviction and subsequent
imprisonment.

155. Defendant Gilliam was acting under color of law when he intentionally
misrepresented the evidence against Allen and created the false and misleading
serology report.

Case 1:19-cv-00766-TDS-LPA Document 2 Filed 07/29/19 Page 30 of 49
156. Defendant Gilliam’s intentional misrepresentation of evidence deprived Allen of
his liberty without due process of law in violation of the Fourteenth Amendment to
the United States Constitution.

157. Because Defendant Gilliam intentionally misrepresented evidence against Allen,
Defendant Gilliam is liable in his individual capacity to Allen for compensatory
damages under 42 U.S.C. 1983.

G. CLAIMS UNDER 42 U.S.C. 1983 AGAINST GILLIAM, IN HIS OFFICIAL
CAPACITY, FOR VIOLATION OF THE DUE PROCESS CLAUSE OF THE
FOURTEENTH AMENDMENT TO THE UNITED STATES CONSTITUTION.

158. Each and every paragraph hereinabove, both numbered and unnumbered, is
hereby re-alleged and incorporated herein by reference as if fully set forth.

159. Inhis capacity as a Durham police officer, Defendant Gilliam had received
training regarding the statutory and constitutional requirement for law enforcement
officers to provide exculpatory evidence to defendants in criminal cases.

160. Defendant Gilliam should have known that the statements of Kia Ward were
exculpatory material subject to discovery pursuant to Brady v. Maryland after she
disclosed that she considered Allen her enemy.

161. Defendant Gilliam have known that the results of the polygraph of Kia Ward was
exculpatory evidence required to be disclosed to Derrick Allen. Moreover, Defendant
Gilliam knew or should have known that the failure to ask the following two
questions and/or the failure to include these questions in the result of the polygraph
that determined Kia Ward was “not deceptive” was exculpatory information to which
Derrick Allen was entitled. Those questions were: “Did you (Kia Ward) do anything
to harm Adesha Artis’ vagina?” and “Have you been truthful with Investigator
Gilliam?”

162. The training Defendant Gilliam received was inadequate and insufficient to
equip Defendant Gilliam and other officers of the Durham Police Department with
the requisite knowledge to understand the constitutional requirement to produce
exculpatory evidence to criminal defendants and to comply with said requirement by
producing and disclosing said exculpatory information as required by the Constitution
of the United States.

163. In light of the specific duties of police officers, particularly investigators and
detectives, the need for more and/or different training was so obvious as to amount
to reckless indifference on the part of the Durham Police Department and the City
of Durham to the constitutional rights or persons charged with criminal offenses in
Durham County, North Carolina.

164. In intentionally withholding this exculpatory evidence from Allen, Defendant
Gilliam acted with reckless indifference to Allen’s constitutional rights.

Case 1:19-cv-00766-TDS-LPA Document 2 Filed 07/29/19 Page 31 of 49
165. Absent additional training on the constitutional requirement to produce and
disclose exculpatory evidence pursuant to Brady v. Maryland and its progeny, it was
highly predictable and even likely, that police officers, investigators and detectives of
the Durham Police Department would be make incorrect Brady decisions as a result.

166. In fact, it was so predictable that failing to adequately train the officers,
investigators and detectives of the Durham Police Department amounted to conscious
disregarded for Allen’s and other defendants’ constitutional rights by the Durham
Police Department and the City of Durham.

167. Defendant Gilliam, as an investigator with the Durham Police Department was
merely implementing the department’s custom, policy, and practice of consciously
ignoring or acting with reckless indifference to the constitutional rights of criminal
defendants to receive exculpatory evidence.

168. The Durham Police Department and the City of Durham failed to train its
employees concerning a clear constitutional duty implicated in recurrent situations
employees, particular investigators and detectives were certain to face

169. The Durham Police Department and City of Durham were aware of, and
acquiesced in, a pattern of constitutional violations involving the exercise of police
discretion in disclosing exculpatory evidence to criminal defendants in Durham
County.

170. This is evidenced by the police department’s pattern and practice of either failing
to preserve evidence that is exculpatory, failing to disclose laboratory and forensic —
test results that are exculpatory, failing to disclose witness statements that are
exculpatory and failing to disclose polygraph test results that are exculpatory.

171. The Durham Police Department and the City of Durham knew or should
have known that Defendant Gilliam received inadequate or improper training by
supervisors at the Durham Police Department such that he was not aware of his
obligation to produce exculpatory evidence to Derrick Allen.

172. The Durham Police Department and the City of Durham knew or should
have known that Defendant Gilliam received inadequate or improper training by
supervisors at the Durham Police Department such that he consciously determined
that he was not required to produce exculpatory evidence to Derrick Allen.

173. The Durham Police Department and the City of Durham failed to properly
train, re-train and/or supervise Defendant Gilliam such that he failed to produce
exculpatory evidence to Derrick Allen in violation of Allen’s rights under the
Constitution of the United States.

174. Asa direct result of the inadequate training of Defendant Gilliam, the

constitutional rights of Allen to receive exculpatory evidence were violated and
he was irreparably and immeasurably harmed thereby in that he was unjustly

Case 1:19-cv-00766-TDS-LPA Document 2 Filed 07/29/19 Page 32 of 49
incarcerated for a period of more than twelve and one-half years.

175. The employees, agents, supervisors, officers and directors of the Durham Police
Department and the City of Durham engaged in a pattern and course of behavior
designed to intentionally mislead, inaccurately report and to obfuscate and withhold
exculpatory evidence in one or more criminal cases investigated by the Durham
Police Department.

176. Asa direct result of the pattern and course of behavior of the employees, agents,
supervisors, officer and directors of the Durham Police Department and the City of
Durham, Derrick Allen was deprived of his liberty in violation of the Fourteenth
Amendment to the United States Constitution.

177. Because Defendant Gilliam failed to disclose exculpatory evidence to Allen,
Defendant Gilliam is liable in his official capacity to Allen for compensatory
damages under 42 U.S.C. 1983,

Il. STATE LAW
A. CLAIMS UNDER THE NORTH CAROLINA CONSTITUTION
COUNT I — Defendant Elwell’s Intentional Misrepresentation Of Evidence

178. Each and every paragraph hereinabove, both numbered and unnumbered, is
hereby re-alleged and incorporated herein by reference as if fully set forth.

179.  Atall times relevant to this action, Defendant Jennifer Elwell was employed by
the State of North Carolina with the State Bureau of Investigation in the serology
unit.

180. Inher capacity as a serologist with the State Bureau of Investigation, Defendant
Elwell was responsible for conducting tests on physical evidence to determine the
presence of blood and other substances.

181. Defendant Elwell conducted tests on the clothing and panties of Adesha Artis.

182. Defendant Elwell reported that testing on the child's underwear had shown
chemical indications of blood. However, her report failed to say that subsequent
confirmatory tests were negative for blood and the stains were dilute,

183. Defendant Elwell, intentionally misrepresented the evidence against Derrick
Allen by creating a false and misleading report that indicated that there was blood on
the child victim’s clothing and panties.

184, In intentionally misrepresenting this evidence and creating the false and

misleading report, Defendant Elwell acted with reckless indifference to Allen’s
constitutional rights.

Case 1:19-cv-00766-TDS-LPA Document 2 Filed 07/29/19 Page 33 of 49
185. Defendant Elwell’s intentional misrepresentation of the evidence against
Derrick Allen was a direct and proximate cause of his conviction and subsequent
imprisonment.

186. Defendant Elwell’s intentional misrepresentation of evidence and creation of a
false and misleading report deprived Allen of his liberty without due process of law
in violation of the his rights under the North Carolina Constitution, including but not
limited to his rights under Article I, Section 19 and Article I, Section 21.

187. Because Defendant Elwell intentionally misrepresented evidence against Allen
and created a false and misleading serology report, Defendant Elwell is liable in
her official capacity to Allen for compensatory damages under the North Carolina
Constitution.

188. Defendant Elwell had a continuing duty as an SBI employee to correct the false
and misleading report that she submitted. That obligation began on the day she
submitted her report and continued every day, month and year that Derrick Allen
was in jail and for as long as Defendant Elwell was employed by the State of North
Carolina.

189. In each year after Allen’s conviction, from 1998 through and including 2010,
Defendant could have and would have obtained post-conviction relief and avoided
additional time in prison if Defendant Elwell had corrected the laboratory report and
disclosed the negative results of confirmatory tests.

- 190. Defendant Elwell’s intentional failure to correct the false and misleading serology
report in each year from 1998 and 2010 deprived Allen of his liberty without due
process of law in violation of his rights under the North Carolina Constitution,
including but not limited to his rights under Article I, Section 19 and Article I,
Section 21.

191. Because Defendant Elwell’s intentionally failed to correct the false and
misleading serology report in each year from 1998 through 2010, Defendant Elwell
is liable in her official capacity to Allen for compensatory damages under the North
Carolina Constitution.

COUNT II - Defendant Elwell’s Failure To Disclose Exculpatory Evidence

192. Each and every paragraph hereinabove, both numbered and unnumbered, is
hereby re-alleged and incorporated herein by reference as if fully set forth.

193. The serology report created and submitted by Defendant Elwell intentionally
omitted the results of confirmatory tests on the clothing and panties of Adesha Artis.

194, The results of these confirmatory tests showed were negative for the presence of
blood and showed that the stains were dilute.

Case 1:19-cv-00766-TDS-LPA Document 2 Filed 07/29/19 Page 34 of 49
195. Defendant Elwell intentionally withheld exculpatory evidence by failing to
disclose in her report that the confirmatory tests on the victim’s clothing and panties
were negative for the presence of blood.

196. In withholding exculpatory evidence from Allen, Defendant Elwell acted with
reckless indifference to Allen’s constitutional rights.

197. Defendant Elwell’s intentional withholding of exculpatory evidence from
Derrick Allen was a direct and proximate cause of his conviction and subsequent
imprisonment.

198. Defendant Elwell’s intentional withholding of exculpatory evidence deprived
Allen of his liberty without due process of law in violation of his rights under the
North Carolina Constitution, including but not limited to his rights under Article I,
Section 19 and Article I, Section 21.

199. Because Defendant Elwell intentionally withheld exculpatory evidence from
Allen, Defendant Elwell is liable in her official capacity to Allen for compensatory
damages under the North Carolina Constitution.

200. Defendant Elwell had a continuing duty as an SBI employee to disclose the
existence of exculpatory evidence to Allen or his legal counsel. That obligation
began on the day she withheld the exculpatory test results and continued every day,
month and year that Derrick Allen was in jail and for as long as Defendant Elwell was

employed by the State of North Carolina.

201. Defendant Elwell’s intentional failure to disclose the exculpatory test results in
each year from 1998 and 2010 deprived Allen of his liberty without due process of
law in violation of his rights under the North Carolina Constitution, including but not
limited to his rights under Article I, section 19 and Article I, Section 21.

202. Because Defendant Elwell’s intentionally withheld exculpatory evidence in each
year from 1998 through 2010, Defendant Elwell is liable in her official capacity to
Allen for compensatory damages under the North Carolina Constitution.

COUNT III — Defendant Nelson’s Intentional Misrepresentation of Evidence

203. Each and every paragraph hereinabove, both numbered and unnumbered, is
hereby re-alleged and incorporated herein by reference as if fully set forth.

204. Atall times relevant to this action, Defendant Mark Nelson was employed by

the State of North Carolina with the State Bureau of Investigation as the Chief of the
Serology Section of the SBI Crime Lab.

Case 1:19-cv-00766-TDS-LPA Document 2 Filed 07/29/19 Page 35 of 49
205. In his capacity as Chief of the Serology Section of the SBI Crime Lab, Defendant
Nelson was responsible for the policies, practices and regulations promulgated by the
Serology Section.

206. In his capacity as Chief of the Serology Section of the SBI Crime Lab, Defendant
Nelson was also responsible for supervising and overseeing the conduct of SBI
analysts within the Serology Section, reviewing the results of reports created by
analysts within the Serology Section and supervising and overseeing the tests
performed within the Serology Section of the SBI Crime Lab.

207. Defendant Nelson encouraged, condoned and approved of the practice of Elwell
in creating and submitting official SBI laboratory results that falsely indicated the
presence of blood while concealing the negative results of confirmatory tests.

208. Defendant Nelson knew and intended that this practice and custom described
hereinabove created a systematic bias in favor of law enforcement and against
defendants in criminal cases.

209. Defendant Nelson knew and intended that this practice and custom described
hereinabove routinely resulted in a misrepresentation of evidence vital to the
administration of justice.

210. Defendant Nelson acted with reckless indifference to Allen’s constitutional
rights by encouraging, condoning and approving Elwell’s practice of intentionally
misrepresenting evidence by creating and submitting serology reports that falsely
indicated the presence of blood while failing to disclose negative confirmatory test
results.

211. By knowingly and intentionally encouraging, condoning and approving Elwell’s
intentional misrepresentation of evidence and creation of a false and misleading
report, Defendant Nelson deprived Allen of his liberty without due process of law in
violation of his rights under the North Carolina Constitution, including but not limited
to his rights under Article I, Section 19 and Article I, Section 21.

212. Because Defendant Nelson knowingly and intentionally encouraged, condoned
and approved Elwell’s practice of intentionally misrepresenting evidence, Defendant
Nelson is liable in his official capacity to Allen for compensatory damages under the
North Carolina Constitution.

213. Defendant Nelson had a continuing duty as the Chief of the Serology Section of
the SBI Crime Lab to correct the false and misleading report submitted by analysts
under his supervision. That obligation began on the day Elwell submitted her report
and continued every day, month and year that Derrick Allen was in jail and for as
long as Defendant Nelson was employed by the State of North Carolina.

214. Defendant Nelson’s intentional failure to correct the false and misleading
serology report created and submitted by Elwell in each year from 1998 and 2010

Case 1:19-cv-00766-TDS-LPA Document 2 Filed 07/29/19 Page 36 of 49
deprived Allen of his liberty without due process of law in violation of rights under
the North Carolina Constitution, including but not limited to his rights under Article I,
Section 19 and Article I, Section 21.

215. Because Defendant Nelson intentionally failed to correct the false and misleading
serology report created and submitted by Elwell in each year from 1998 through
2010, in reckless indifference to Allen’s constitutional rights, Defendant Nelson is
liable in his official capacity to Allen for compensatory damages under the North
Carolina Constitution.

COUNT IV — Defendant Nelson’s Failure To Disclose Exculpatory Evidence

216. Each and every paragraph hereinabove, both numbered and unnumbered, is
hereby re-alleged and incorporated herein by reference as if fully set forth.

217. As Chief of the Serology Section of the SBI Crime Lab, Defendant Nelson
intentionally and in bad faith encouraged, condoned and approved the practice of
some SBI analysts, in particular Defendant Elwell, of withholding exculpatory
evidence by failing to disclose negative confirmatory test results.

218. Defendant Nelson could reasonably foresee that his encouragement, condonation
and approval of Elwell’s practice of withholding exculpatory evidence was a direct
and proximate cause of Allen’s conviction and subsequent imprisonment.

219. Because Defendant Nelson intentionally encouraged, condoned and approved
Defendant Elwell’ s practice of withholding exculpatory evidence, Allen was
wrongfully imprisoned for almost thirteen years for a crime he did not commit.

220. Defendant Nelson was acting under color of law when he encouraged, condoned
and approved the practice of intentionally withholding exculpatory evidence.

221. By knowingly and intentionally encouraging, condoning and approving Elwell’s
intentional failure to disclose exculpatory evidence, Defendant Nelson deprived Allen
of his liberty without due process of law in violation of the Fourteenth Amendment to
the united States Constitution.

222. Because Defendant Nelson knowingly and intentionally encouraged, condoned
and approved Elwell’s practice of intentionally withholding exculpatory evidence,
Defendant Nelson is liable in his individual capacity to Allen for compensatory
damages under 42 U.S.C. 1983. |

223. Defendant Nelson had a continuing duty as the Chief of the Serology Section of
the SBI Crime Lab to disclose material and exculpatory evidence. That obligation
began on the day Elwell submitted her report and continued every day, month and
year that Derrick Allen was in jail and for as long as Defendant Nelson was employed
by the State of North Carolina.

Case 1:19-cv-00766-TDS-LPA Document 2 Filed 07/29/19 Page 37 of 49
224. Had Defendant Nelson not encouraged, condoned and approved Defendant
Elwell’s conduct in intentionally withholding exculpatory evidence, the charges
against Allen would have been dismissed and he would have avoided almost thirteen
years imprisonment.

225. In each year after Allen’s conviction, from 1998 through and including 2010,
Derrick Allen could have and would have obtained post-conviction relief and avoided
additional time in prison if Defendant Nelson had acted to disclosure the exculpatory
evidence intentionally withheld by Elwell.

226. Defendant Nelson’s intentional failure to disclose material and exculpatory
evidence in each year from 1998 and 2010 deprived Allen of his liberty without
due process of law in violation of the Fourteenth Amendment to the United States
Constitution.

227. Because Defendant Nelson intentionally failed to disclose exculpatory
evidence in each year from 1998 through 2010, in reckless indifference to Allen’s
constitutional rights, Defendant Nelson is liable in his individual capacity to Allen for
compensatory damages under 42 U.S.C. 1983.

COUNT V - Defendant Black’s Intentional Misrepresentation Of Evidence

203. Each and every paragraph hereinabove, both numbered and unnumbered, is
hereby re-alleged and incorporated herein by reference as if fully set forth.

204. Atall times relevant to this action, Senior District Attorney Freda Black was
employed by then District Attorney James Hardin, Jr. and prosecuted cases by, on
behalf of, and in the name of the State of North Carolina.

205. Atall times relevant to this action, Senior Assistant District Attorney Freda Black
represented the State of North Carolina in its prosecution of one or more criminal
charges against Derrick Allen.

206. While being employed by the State of North Carolina, Defendant Freda Black
represented to the Superior Court, at Derrick Allen’s plea hearing, that a factual basis
existed for entry of the plea, to wit: the presence of blood on the clothing and panties
of Adesha Artis.

207. At the time she made such representation to the Court, Defendant Black knew
that her representation of the results contradicted the serology test results as she had
previously been advised by Defendant Elwell that subsequent tests on the child’s
clothing and panties were negative for blood.

208. Defendant Black knew and intended that her statement to the Court regarding
the existence of blood on the clothing and panties of the child victim was false and
misleading.

Case 1:19-cv-00766-TDS-LPA Document 2 Filed 07/29/19 Page 38 of 49
209. When Defendant Black made the statement to the Court she intended to create
and did in fact create a false impression of Derrick Allen’s guilt.

210. Prior to making such representation to the Court, Defendant Black directed
Defendant Elwell not to include the results of negative confirmatory tests in the
official SBI report, even though Defendant Elwell discussed with her the existence of
such negative confirmatory test results.

211. Defendant Black also reviewed statements made by Kia Ward, a witness in the
investigation into the death of Adesha Artis, to one or more employees of the Durham
Police Department.

212. Defendant Black, acting in an investigative capacity, then caused a polygraph
examination to be conducted upon Kia Ward.

213. Defendant Black met with Defendant Gilliam to determine what specific
questions to pose to Kia Ward during her polygraph examination and submitted these
questions by secret memo to the State Bureau of Investigation.

214. Defendant Black knew that the failure to ask the following two questions and/or
the failure to include these questions in the result of the polygraph that determined
Kia Ward was “not deceptive” was exculpatory information to which Derrick Allen
was entitled. Those questions were: “Did you (Kia Ward) do anything to harm
Adesha Artis’ vagina?” and “Have you been truthful with Investigator Gilliam?” The
import of these two questions cannot be disregarded by anyone objectively seeking
the truth in this matter.

215. Defendant Black knew that the State’s polygraph of Kia Ward was incomplete
and/or misleading.

216. Defendant Black acted in an investigative capacity to misrepresent evidence
regarding the presence or absence of blood on the victim’s clothing and panties.

217. Defendant Black acted in an investigative capacity to misrepresent evidence
concerning the statements of a witness against Derrick Allen.

218. Defendant Black intentionally misrepresented the evidence against Derrick Allen
by directing that negative confirmatory test results be omitted from the official SBI
serology report.

219. Defendant Black intentionally misrepresented evidence against Derrick Allen by
directing the polygraph of a key witness, Kia Ward, by secret memo to the SBI that
did not include questions relevant to the witness’ involvement in harming the victim,
bias against Allen or truthfulness to investigators.

220. Defendant Black intentionally misrepresented evidence against Derrick Allen by
falsely reporting the results of the polygraph of Kia Ward.

Case 1:19-cv-00766-TDS-LPA Document 2 Filed 07/29/19 Page 39 of 49
221. In intentionally misrepresenting the serology report and polygraph test results,
Defendant Black acted with reckless indifference to Allen’s constitutional rights.

222. Defendant Black’s intentional misrepresentation of the evidence against
Derrick Allen was a direct and proximate cause of his conviction and subsequent
imprisonment.

223. Defendant Black’s intentional misrepresentation of evidence deprived Allen of his
liberty without due process of law in violation of his rights under the North Carolina
Constitution, including but not limited to Article I, Section 19 and Article I, Section
21.

224. Because Defendant Black intentionally misrepresented evidence against Allen,
Defendant Black is liable in her official capacity to Allen for compensatory damages
under the North Carolina Constitution. .

COUNT VI - Defendant Black’s Failure To Disclose Exculpatory Evidence

225. Each and every paragraph hereinabove, both numbered and unnumbered is hereby
re-alleged and incorporated herein by reference as if fully set forth.

226. Defendant Black knew that she had an affirmative duty to provide all exculpatory
evidence to Derrick Allen, including the results that showed that subsequent tests on
the child victim’s clothing and panties were negative for blood.

227.  Atall times relevant to this action, Defendant Black was an experienced
prosecutor who was thoroughly familiar with and knowledgeable about relevant case
law, specifically, the affirmative duty under Brady v. Maryland, and its progeny to
provide exculpatory evidence to defendants in criminal case.

228. Defendant Black knew that a report showing that confirmatory tests on a victim’s
clothing that was negative for the presence of blood was exculpatory evidence as this
was clearly established by case law prior to 1998.

229. Defendant Black knew that the statements of Kia Ward were exculpatory material
subject to discovery pursuant to Brady v. Maryland after she disclosed that she
considered Mr, Allen her enemy as this was clearly established by case law prior to
1998.

230. In addition to her duty under the North Carolina Constitution, Defendant Black
knew that she had an ethical duty as a member of the North Carolina State Bar to
provide all exculpatory evidence to Derrick Allen, including the results that showed
that subsequent tests on the child’s clothing and panties were negative for blood, the
statements of Kia Ward and the questions and results of the polygraph examination of
Kia Ward.

Case 1:19-cv-00766-TDS-LPA Document 2 Filed 07/29/19 Page 40 of 49
231. Defendant Black knew that she was intentionally violating the Rules of
Professional Conduct which govern the individual conduct of attorneys, including
prosecutors who might otherwise enjoy immunity from liability in their official
capacities.

232. Defendant Black knew that the results of the polygraph of Kia Ward were
exculpatory evidence that she was required to be disclosed to Derrick Allen.

233. Defendant Black, knew that her intentional withholding of exculpatory evidence
. violated Allen’s rights under the Constitution of the United States.

234. Defendant Black’s intentional withholding of exculpatory evidence was a direct
and proximate cause of Allen’s conviction and subsequent imprisonment.

235. Defendant Black’s intentional withholding of exculpatory evidence deprived
Allen of his liberty without due process of law in violation of his rights under the
North Carolina Constitution, including but not limited to his rights under Article I,
Section 19 and Article I, Sections 21.the Fourteenth Amendment to the United States
Constitution.

236. Because Defendant Black intentionally withheld exculpatory evidence from
Allen, Defendant Black is liable in her official capacity to Allen for compensatory
damages under the North Carolina Constitution.

COUNT VII — Defendant Gilliam’s Failure To Disclose Exculpatory Evidence

237. Each and every paragraph hereinabove, both numbered and unnumbered, is
hereby re-alleged and incorporated herein by reference as if fully set forth.

238. . Atall times relevant to this action, Defendant Gilliam was employed by the City
of Durham with the Durham Police Department.

239.  Atall times relevant to this action Defendant Gilliam was acting within the course
and scope of his employment as an officer with the Durham Police Department.

240. Defendant Gilliam reviewed statements made by Kia Ward, a witness in the
investigation into the death of Adesha Artis.

241. Defendant Gilliam knew that Kia Ward had engaged in a sexual relationship with
Derrick Allen and considered him her enemy.

242. Defendant Gilliam caused a polygraph examination to be conducted upon Kia
Ward.

243. Defendant Gilliam met with Defendant Black to determine what specific

questions to pose to Kia Ward during her polygraph examination and submitted these
questions by secret memo to the State Bureau of Investigation.

Case 1:19-cv-00766-TDS-LPA Document 2 Filed 07/29/19 Page 41 of 49
244. Defendant Gilliam knew that the failure to ask the following two questions and/
or the failure to include these questions in the result of the polygraph that determined
Kia Ward was “not deceptive” was exculpatory information to which Derrick Allen
was entitled. Those questions were: “Did you (Kia Ward) do anything to harm
Adesha Artis’ vagina?” and “Have you been truthful with Investigator Gilliam?” The
import of these two questions cannot be disregarded by anyone objectively seeking
the truth in this matter.

245. Defendant Gilliam knew and intended that the polygraph of Kia Ward was
incomplete and/or misleading,

246. Defendant Gilliam misrepresented evidence concerning the statements of a key
witness against Derrick Allen.

247. Defendant Gilliam intentionally misrepresented the evidence against Derrick
Allen by directing the polygraph of a key witness, Kia Ward, by secret memo to the
SBI that did not include questions relevant to the witness’ involvement in harming the
victim, bias against Allen or truthfulness to investigators.

248. Defendant Gilliam intentionally misrepresented evidence against Derrick Allen by
falsely reporting the results of the polygraph of Kia Ward.

249. In intentionally misrepresenting the serology report and polygraph test results,
Defendant Gilliam acted with reckless indifference to Allen’s constitutional rights.

250. Defendant Gilliam’s intentional misrepresentation of the evidence against
Derrick Allen was a direct and proximate cause of his conviction and subsequent
imprisonment.

251. Defendant Gilliam’s intentional misrepresentation of evidence deprived Allen
of his liberty without due process of law in violation of his rights under the North
Carolina Constitution, including but not limited to his rights under Article I,

Section 19 and Article I, Section 21. he Fourteenth Amendment to the United States
Constitution.

252. Because Defendant Gilliam intentionally misrepresented evidence against
Allen, Defendant Gilliam is liable in his official capacity to Allen for compensatory
damages under the North Carolina Constitution.

COUNT VIII — Conspiracy of Elwell and Nelson

253, Each and every paragraph hereinabove, both numbered and unnumbered, is
hereby re-alleged and incorporated herein by reference as if fully set forth.

254. As set forth in detail hereinabove, Defendants Elwell and Nelson acted jointly and
in concert with the intention of depriving Derrick Allen of his constitutional rights.

Case 1:19-cv-00766-TDS-LPA Document 2 Filed 07/29/19 Page 42 of 49
255. Beginning in 1998 and continuing through the remainder of their employment
with the SBI, Defendants Elwell and Nelson, conspired to violate Allen’s rights under
the North Carolina Constitution.

256. The acts in furtherance of the conspiracy include, but are not limited to:

a. Defendant Elwell produced and submitted the false and misleading serology
report.

b. Defendant Elwell falsely affirmed that “This report represents a true and
accurate result of my analysis of the item(s) described.”

c. Defendant Nelson encouraged, condoned and approved Elwell’s practice of
creating and submitting reports that falsely indicated the presence of blood
while concealing the negative results of confirmatory tests.

257. The conspiracy between Defendants Elwell and Nelson was a direct and
proximate cause of Allen’s conviction and subsequent imprisonment.

258. As aresult of the conspiracy between Defendants Elwell and Nelson, Allen was
wrongfully imprisoned for almost thirteen years for a crime he did not commit.

259. The conspiracy between defendants Elwell and Nelson deprived Allen of his
liberty without due process of law in violation of his rights under the North Carolina
Constitution, including but not limited to his rights under Article I, Section 19 and
Article I, Section 21.

260. Because Defendants Elwell and Nelson conspired to deprive Allen of his
constitutional rights, they are each liable in their official capacities to Allen for
compensatory damages under the North Carolina Constitution.

COUNT VIII - Conspiracy of Elwell and Black

261. Each and every paragraph hereinabove, both numbered and unnumbered, is
hereby re-alleged and incorporated herein by reference as if fully set forth.

262. As set forth in detail hereinabove, Defendants Elwell and Black acted jointly and
in concert with the intention of depriving Derrick Allen of his constitutional rights.

263. Beginning in 1998, Defendants Elwell and Black, conspired to violate Allen’s
rights under the North Carolina Constitution.

264. The acts in furtherance of the conspiracy include, but are not limited to:

Case 1:19-cv-00766-TDS-LPA Document 2 Filed 07/29/19 Page 43 of 49
a. Defendant Elwell conducted the tests on the clothing and panties of the child
victim and advised Defendant Black about the negative confirmatory test
results.

b. Defendant Black directed Defendant Elwell not to include the confirmatory
test results in the official SBI report.

c. Defendant Elwell produced and submitted the false and misleading serology
report.

d. Defendant Elwell falsely affirmed that “This report represents a true and
accurate result of my analysis of the item(s) described.”

e. Defendant Black requested, encouraged, condoned and approved Elwell’s
creation and submission of the report that falsely indicated the presence of
blood while concealing the negative results of confirmatory tests.

f. Defendant Black intentionally and knowingly misrepresented evidence to the
Court using the false and misleading serology report.

265. The conspiracy between Defendants Elwell and Black was a direct and proximate
cause of Allen’s conviction and subsequent imprisonment.

266. Asa result of the conspiracy between Defendants Elwell and Black, Allen was
wrongfully imprisoned for almost thirteen years for a crime he did not commit.

267. The conspiracy between Defendants Elwell and Black deprived Allen of his
liberty without due process of law in violation of his rights under the North Carolina
Constitution, including but not limited to his rights under Article I, Section 19 and
Article I, Section 21.

268. Because Defendants Elwell and Black conspired to deprive Allen of his
constitutional rights, they are each liable in their official capacities under the North
Carolina Constitution.

COUNT IX — Obstruction of Justice (Elwell)

269. Each and every paragraph hereinabove, both numbered and unnumbered, is hereby
re-alleged and incorporated herein by reference as if fully set forth.

270. Elwell prevented, obstructed, impeded and hindered public or legal justice by
engaging in the acts set forth above, including but not limited to:

a. Intentionally misrepresenting evidence against Allen by creating and

submitting an official SBI serology report that she knew and intended to be
false and misleading.

Case 1:19-cv-00766-TDS-LPA Document 2 Filed 07/29/19 Page 44 of 49
b. Intentionally withholding exculpatory evidence by failing to disclose in the
SBI serology report that she obtained negative results on confirmatory tests of
the child victim’s clothing and panties.

c. In each year from 1998 through 2010, intentionally failing to disclose the
misrepresentation of evidence and withholding of exculpatory evidence.

d. In such other ways as may be shown by the evidence at trial.

271. Asa direct, proximate and foreseeable cause of Elwell’s obstruction of justice,
Allen was deprived of his liberty and imprisoned for almost thirteen years for a crime
he did not commit.

COUNT X — Obstruction of Justice (Nelson)

272. Each and every paragraph hereinabove, both numbered and unnumbered, is hereby
re-alleged and incorporated herein by reference as if fully set forth.

273. Nelson prevented, obstructed, impeded and hindered public or legal justice by
engaging in the acts set forth above, including but not limited to:

a. Intentionally encouraging, condoning and approving the practice of SBI
analysts, including Elwell, of misrepresenting evidence by creating and
submitting an official SBI serology reports that falsely indicated the presence
of blood despite negative confirmatory test results.

b. Encouraging, condoning and approving the practice of some analysts,
including Elwell of withholding exculpatory evidence by failing to disclose the
existence of negative results on confirmatory test results.

ce. In each year from 1998 through 2010, intentionally failing to disclose the
misrepresentation of evidence and withholding of exculpatory evidence.

d. In such other ways as may be shown by the evidence at trial.

e. Asa direct, proximate and foreseeable cause of Nelson’s obstruction of justice,
Allen was deprived of his liberty and imprisoned for almost thirteen years for a
crime he did not commit.

COUNT IX - Obstruction of Justice (Black)

274. Each and every paragraph hereinabove, both numbered and unnumbered, is hereby
re-alleged and incorporated herein by reference as if fully set forth.

275. Black prevented, obstructed, impeded and hindered public or legal justice by
engaging in the acts set forth above, including but not limited to:

Case 1:19-cv-00766-TDS-LPA Document 2 Filed 07/29/19 Page 45 of 49
h.

Intentionally misrepresenting evidence against Allen by directing Elwell to
create and submit an official SBI serology report that she and Elwell knew and
intended to be false and misleading.

Intentionally representing to the Court that the false and misleading serology
report submitted by Elwell was an accurate representation of the evidence
against Allen.

Intentionally representing to the Court that a factual basis existed for the entry
of Allen’s Alford plea, to wit: the presence of blood on the child victim’s
clothing and panties when she knew this in fact to be false and intended said
representation to create a false impression of guilt.

Intentionally representing to the Allen and his defense counsel that a factual
basis existed for the entry of Allen’s Alford plea, to wit: the presence of blood
on the child victim’s clothing and panties when she knew this in fact to induce
Allen to accept an Alford plea.

Intentionally withholding exculpatory evidence by failing to disclose the
existence of negative results on confirmatory tests of the child victim’s
clothing and panties,

Intentionally withholding exculpatory evidence by not providing the witness
statements and complete polygraph tests results of Kia Ward to Allen or his
defense counsel.

In each year from 1998 through 2010, intentionally failing to disclose the
misrepresentation of evidence and withholding of exculpatory evidence.

In such other ways as may be shown by the evidence at trial.

276. Asa direct, proximate and foreseeable cause of Black’s obstruction of justice,
Allen was deprived of his liberty and imprisoned for almost thirteen years for a crime
he did not commit.

the existence of negative results on confirmatory tests of the child victim’s
clothing and panties.

Intentionally withholding exculpatory evidence by not providing the witness
statements and complete polygraph tests results of Kia Ward to Allen or his
defense counsel.

In each year from 1998 through 2010, intentionally failing to disclose the
misrepresentation of evidence and withholding of exculpatory evidence.

In such other ways as may be shown by the evidence at trial.

Case 1:19-cv-00766-TDS-LPA Document 2 Filed 07/29/19 Page 46 of 49
277. Asa direct, proximate and foreseeable cause of Black’s obstruction of justice,
Allen was deprived of his liberty and imprisoned for almost thirteen years for a crime
he did not commit.

CONCLUSION AND PRAYER FOR RELIEF

278. Asa direct result of each of the defendants’ violation of Allen’s civil and
constitutional rights and obstruction of justice, Derrick Allen was wrongfully
convicted of murder, imprisoned each year from 1998 until 2010 for a crime he did
not commit and sustained personal injuries which resulted in substantial damages
each year from 1998 to 2010. These include, but are not limited to inadequate
medical treatment, pain and suffering, severe mental anguish, emotional distress,
humiliation, indignities, embarrassment, degradation, restrictions on all forms
of personal freedom, including but not limited to diet, sleep, personal contact,
educational opportunity, vocational opportunity, athletic opportunity, personal
fulfillment, family relations, television, travel, enjoyment and expression.

279. Defendants are jointly and severally liable in their individual capacities to Allen
for compensatory damages resulting from the violation of his civil and constitutional
rights and obstruction of justice.

280. Defendant Gilliam is liable to Allen in his official capacity for compensatory
damages resulting from the violation of his civil and constitutional rights.

281. Defendants Elwell, Nelson and Black are jointly and severally liable in their
official capacities to Allen for compensatory damages resulting from the violation of
his rights under the North Carolina Constitution.

282. Beyond compensating Derrick Allen for the twelve and one half years he spent
in custody, this action seeks to redress the unlawful official policies, practices and/
or customs that caused Defendants’ violations of Allen’s constitutional rights as
guaranteed by the United States Constitution and the Constitution and laws of the
State of North Carolina.

Based on the foregoing, Allen prays for the following relief:

1.

That Plaintiff have and recover compensatory damages from defendants, jointly and
severally, in an amount to be determined at trial;

That Plaintiff have and recover reasonable attorney’s fees and litigation costs and expenses
from these Defendants, collectively and each of them;

Court costs and interest as allowed by law;

A trial by jury on all contested issues of fact;

Case 1:19-cv-00766-TDS-LPA Document 2 Filed 07/29/19 Page 47 of 49
5. Such other and further relief as this Court deems just and proper.

this the “C day ot AAAKCH 2014.

Derrick Allen — Pro Se

Case 1:19-cv-00766-TDS-LPA Document 2 Filed 07/29/19 Page 48 of 49
STATE OF NORTH CAROLINA
VERIFICATION
COUNTY OF DURHAM

Derrick Allen, being first duly sworn, deposes and says that he is the Plaintiff in the foregoing
action and that he has read the preceding pages and knows the contents thereof and that the same
are true to his knowledge, except as to those matters stated upon information and belief, and as to

those matters, he believes them to be true.

Derrick Allen
Subscribed and sworn to before me this the [0° day of 1s rok , 2014.
By: hel ? th, Aa’ WEE yy
Notary Public ye: LOg en,
SMe OTAB 0%
My Commission Expires: Ce mA {3 LOls = oF WOTA Pree
sd =Q: 403
= 3 ins
=13 ¢ =:
29,%, f ge
7; SUBIC. SS

Case 1:19-cv-00766-TDS-LPA Document 2 Filed 07/29/19 Page 49 of 49
